          EXHIBIT A6




Case 3:23-md-03071   Document 776-13   Filed 02/09/24   Page 1 of 4 PageID #: 14270
                        UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF WISCONSIN


 URIEL PHARMACY HEALTH AND WELFARE PLAN, et al.,

               Plaintiffs,

        v.                                               Case No. 22-cv-610

 ADVOCATE AURORA HEALTH, INC., et al.,

               Defendants.


                  ORDER FOLLOWING SCHEDULING CONFERENCE

        On August 16, 2023, the court held a scheduling conference in accordance with

 Fed. R. Civ. P. 16 and Civil L. R. 16(a) (E.D. Wis.).

        IT IS ORDERED that:

        1.     The parties agreed that fact discovery commenced on June 23, 2023.

        2.     The parties agreed to comply with Fed. R. Civ. P. 26(a)(1) concerning initial

 disclosures by August 9, 2023.

        3.     The parties may join additional parties and amend pleadings without further

 leave of the court through October 2, 2023.

        4.     The parties shall substantially complete production of structured data

 pursuant to requests for production served on or before August 16, 2023, by November

 17, 2023.

        5.     The parties shall substantially complete document production pursuant to

 requests for production served on or before August 16, 2023, by September 18, 2024.




Case 3:23-md-03071
          Case 2:22-cv-00610-LA
                      Document 776-13
                                 Filed 08/16/23
                                         Filed 02/09/24
                                                 Page 1 ofPage
                                                           3 Document
                                                               2 of 4 PageID
                                                                        41 #: 14271
        6.     a.     Any discovery motions brought pursuant to Rules 26 through 37 of

 the Federal Rules of Civil Procedure must comply with Civil L.R. 37, by including:

        a written certification by the movant that, after the movant in good faith has
        conferred or attempted to confer with the person or party failing to make
        disclosure or discovery in an effort to obtain it without court action, the
        parties are unable to reach an accord. The statement must recite the date
        and time of the conference or conferences and the names of all parties
        participating in the conference or conferences.

               b.     All discovery motions and non-dispositive pretrial motions must be

 filed pursuant to Civil L.R. 7(h), unless the court otherwise permits. The motion must not

 exceed three pages in length. No separate memorandum may be filed with the motion,

 and any supporting affidavit allowed by Civil L.R. 7(h) must not exceed two pages. An

 opposing memorandum, which must not exceed three pages in length, may be filed within

 seven days of service of the motion. The court will notify the parties of the date and time

 for a hearing on the motion, if the court deems it necessary.

        7.     Fact discovery shall close on February 19, 2025.

        8.     The parties shall serve opening expert reports on all issues for which they

 bear the burden of proof on or before March 19, 2025.

        9.     The parties shall serve opposing expert reports on or before May 14, 2025.

        10.    The parties shall serve rebuttal expert reports on or before July 9, 2025.

        11.    The parties shall complete depositions of all experts by August 13, 2025.

        12.    The plaintiffs shall file their motion for class certification and any Daubert

 motions related to class certification on or before September 24, 2025.

        13.    The defendants shall file their opposition to class certification and any

 Daubert motions related to class certification on or before November 19, 2025.




                                              2

Case 3:23-md-03071
          Case 2:22-cv-00610-LA
                      Document 776-13
                                 Filed 08/16/23
                                         Filed 02/09/24
                                                 Page 2 ofPage
                                                           3 Document
                                                               3 of 4 PageID
                                                                        41 #: 14272
         14.   The parties shall file replies in support of any Daubert motions related to

 class certification on or before January 14, 2026.

         15.   The plaintiffs shall file their reply to defendants’ opposition to class

 certification on or before January 21, 2026.

         16.   a.     The parties shall file any dispositive motions and any Daubert

 motions related to said dispositive motions on or before April 15, 2026.

               b.     All summary judgment motions and briefing thereon must comply

 with Civil L.R. 7 and 56(b).

         17.   The parties shall file any opposition to a dispositive motion and any Daubert

 motions related to said dispositive motions on or before June 10, 2026.

         18.   The parties shall file any reply in support of dispositive motions or any reply

 in support of any Daubert motions related to a dispositive motion on or before July 22,

 2026.

         19.   The court expects counsel to confer and make a good faith effort to settle

 the case.

         The foregoing schedule shall not be modified except upon a showing of good

 cause and by leave of the court.

         SO ORDERED at Milwaukee, Wisconsin, this 16th day of August, 2023.




                                           /s/Lynn Adelman
                                           LYNN ADELMAN
                                           District Judge




                                                3

Case 3:23-md-03071
          Case 2:22-cv-00610-LA
                      Document 776-13
                                 Filed 08/16/23
                                         Filed 02/09/24
                                                 Page 3 ofPage
                                                           3 Document
                                                               4 of 4 PageID
                                                                        41 #: 14273
